     Case 3:21-cv-00819-M Document 10 Filed 08/09/21                Page 1 of 2 PageID 48



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DOLWIN WHITE,                                    §
                                                 §
                      Plaintiff,                 §
                                                 §
v.                                               §      CIVIL ACTION NO. 3:21-cv-00819-M
                                                 §
BLUE APRON, LLC                                  §
                                                 §
                      Defendant.                 §

                         JOINT SETTLEMENT STATUS REPORT

       Pursuant to the Court’s June 14, 2021, order, Plaintiff Dolwin White (“Plaintiff”) and

Defendant Blue Apron, LLC (“Defendant”) (together, “Parties), by and through their attorneys,

respectfully submit the following Joint Settlement Status Report.

       The Parties have not engaged in substantive settlement efforts as the Parties believe

settlement discussions will be more fruitful after initial discovery is completed. The Parties have

exchanged initial disclosures and will engage in written discovery in the coming weeks.

       The parties have agreed to engage Beth Krugler to mediate the case after substantial

discovery is complete, including written discovery and initial key depositions.




JOINT SETTLEMENT STATUS REPORT                                                              PAGE 1
    Case 3:21-cv-00819-M Document 10 Filed 08/09/21      Page 2 of 2 PageID 49



                                    Respectfully submitted,


                                    By: /s/ Megan Dixon
                                        Megan Dixon
                                        State Bar No. 24079901
                                        dixon@l-blaw.com
                                        BRAZIEL ‫ ׀‬DIXON, LLP
                                        1910 Pacific Avenue, Ste. 12000
                                        Dallas, Texas 75201
                                        Tel: (214) 749-1400
                                        Fax: (214) 749-1010

                                    ATTORNEY FOR PLAINTIFF

                                    and

                                    By: /s/ Raha Assadi
                                        Paul E. Hash
                                        State Bar No. 09198020
                                        Paul.Hash@jacksonlewis.com
                                        Raha Assadi
                                        Texas Bar No. 24105444
                                        raha.assadi@jacksonlewis.com
                                        JACKSON LEWIS P.C.
                                        500 N. Akard, Suite 2500
                                        Dallas, Texas 75201
                                        Phone: (214) 520-2400
                                        Fax: (214) 520-2008

                                    ATTORNEYS FOR DEFENDANT

4832-6938-1357, v. 1




JOINT SETTLEMENT STATUS REPORT                                              PAGE 2
